Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 1 of 15 PageID #: 1508




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------x

 FARI MURRAY, DANIEL MOYLE, ROY WELSH,
 CARLOS PALAGUACHI, ROBERT SANTIAGO,
 AHMED RADWAN and WARREN PAYNE,

 (individually and on behalf of others similarly situated),                Case No. 2:20-cv-01427-MKB-LB

                                      Plaintiffs,

                                -against-                                  Hon. Margo K. Brodie

 UNITED PARCELS SERVICE, INC., WILLIAM GREY,
 CHANCE STEWART, and LLOYD HALL

                                      Defendants.

 ----------------------------------------------------------------------x




                  REPLY MEMORANDUM OF LAW IN SUPPORT OF
                DEFENDANTS WILLIE GREY, CHANCE STEWART, AND
                  LLOYD HALL’S MOTION TO DISMISS THE LAST
              AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(B)(6)




                                                      WITHERS BERGMAN LLP
                                                      Laura A. Watanabe
                                                      430 Park Avenue
                                                      New York, New York 10022
                                                      Tel: (212) 848-9800
                                                      Laura.Watanabe@withersworldwide.com

                                                      Attorneys for Defendants Grey, Stewart, and Hall
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 2 of 15 PageID #: 1509




                                                          Table of Contents

                                                                                                                                     Page(s)

 Table of Authorities ........................................................................................................................ ii

 PROCEDURAL POSTURE ............................................................................................................1

 LEGAL STANDARDS FOR MOTION TO DISMISS...................................................................2

 ARGUMENT ...................................................................................................................................2

            I.         PLAINTIFFS MOYLE, WELSH, AND MURRAY’S FAILURE TO
                       CHALLENGE OR ADDRESS INDIVIDUAL DEFENDANTS’
                       ARGUMENTS TO DISMISS NYSHRL AND NYCHRL RETALIATION
                       CLAIMS ARE A CONCESSION TO THEIR HAVING NO DEFENSE
                       TO DISMISSAL OF THE REMAINING CLAIMS, OR OTHERWISE
                       SHOULD BE DEEMED AS HAVING BEEN ABANDONED .............................2

            II.        FAILING TO ADDRESS THE LEGAL INSUFFICIENCIES IN THEIR
                       NYCHRL AIDING AND ABETTING CLAIMS, DISMISSAL OF
                       CLAIMS IS PROPER AS HAVING BEEN CONCEDED OR
                       ABANDONED, AND FOR THE REASON THAT NO UNDERLYING
                       RETALIATION CLAIM IS ESTABLISHED.........................................................5

            III.       PLAINTIFFS MOYLE, WELSH, AND MURRAY’S FAILURE TO
                       CHALLENGE OR ADDRESS DISMISSAL OF NYLL CLAIMS
                       SHOULD BE DEEMED A CONCESSION OR OTHERWISE
                       REGARDED AS HAVING BEEN ABANDONED ...............................................6

                                  A.         NYLL § 740 Claims.........................................................................6

                                  B.         NYLL § 215 Claims.........................................................................9

 CONCLUSION ..............................................................................................................................10




                                                                        i
 NY28876/0001-US-9433588/7
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 3 of 15 PageID #: 1510




                                                          Table of Authorities

                                                                                                                                         Page(s)

 Cases

 Acosta v. City of N.Y.,
    11 Civ. 8561 (KBF), 2012 WL 1506954 (S.D.N.Y. Apr. 26, 2012) .........................................3

 Arias v. NASDAQ/AMEX Mkt. Group,
    00 Civ. 9827 (MBM), 2003 WL 354978 (S.D.N.Y. Feb. 18, 2003)..........................................4

 Barber v. Von Roll U.S.A., Inc.,
    No. 1:14-CV-907, 2015 WL 5023624 (N.D.N.Y. Aug. 25, 2015) ............................................8

 Breitstein v. Michael C. Fina Co.,
    2016 NY Slip Op 31858(0), 2016 WL 5816210 (Sup. Ct. N.Y. Cnty. Oct. 5,
    2016) ..........................................................................................................................................5

 Brummell v. Webster Cent. School Dist.,
    06-CV-6437, 2009 WL 232789 (W.D.N.Y. Jan. 29, 2009) .......................................................2

 Chevalier v. Civ. Serv. Employees Assn.,
    No. 1:10-CV-446, 2011 WL 1298739 (N.D.N.Y. Mar. 31, 2011) ............................................9

 Cotrone v. Consolidated Edison Co. of NY, Inc.,
    50 A.D.3d 354 (1st Dep’t 2008) ............................................................................................7, 8

 Forrest v. Jewish Guild for the Blind,
    3 N.Y.3d. 295 (2004) ...............................................................................................................10

 Hernandez v. Weill Cornell Med. Coll.,
    2015 NY Slip Op 51022(U), 48 Misc. 3d 1210(A), 18 N.Y.S.3d 579 (Sup. Ct.
    Bronx Cnty. July 6, 2015) ..........................................................................................................2

 Hughes v. Gibson Courier Servs. Corp.,
    218 A.D.2d 684 (2d Dep’t 1995) ...............................................................................................8

 Katz v. Quality Bldg. Servs.,
    81 A.D.3d 558 (1st Dep’t 2011) ................................................................................................8

 Khan v. State Univ. of N.Y. Health Sci. Ctr. at Brooklyn,
    288 A.D.2d 350 (2d Dep’t 2001) ...........................................................................................7, 9

 Knighton v. Mun. Credit Union,
    2009 NY Slip Op 30204[U], 2009 WL 289668 (Sup. Ct. N.Y. Cnty. Jan. 12,
    2009) ..........................................................................................................................................6




                                                                         ii
 NY28876/0001-US-9433588/7
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 4 of 15 PageID #: 1511




 Koehler v. Schervier N.C.C.,
    2012 NY Slip Op 33448[U], 2012 WL 10007968 (Sup. Ct. Bronx Cnty. Nov.
    29, 2012) ....................................................................................................................................6

 Kramsky v. Chetrit Group, LLC,
    No. 10 CV 2638 (HB), 2010 WL 4628299 (S.D.N.Y. Nov. 16, 2010) ..................................10

 Ostroski v. Town of Southold,
    443 F. Supp. 2d 325 (E.D.N.Y. 2006) .......................................................................................4

 Palencar v. NY Power Auth.,
    No. 5:15-CV-857 (DNH), 2019 U.S. Dist. LEXIS 172410 (N.D.N.Y. Oct. 4,
    2019) ..........................................................................................................................................7

 Peace v. KRNH, Inc.,
    12 A.D.3d. 914 (3d Dep’t 2004) ................................................................................................8

 Reardon v. Keating,
    980 F. Supp. 2d 302 (D. Conn. 2013) ........................................................................................3

 Robinson v. Am. Int’l Group, Inc.,
    08 Civ. 1724 (LAK), 2009 U.S. Dist. LEXIS 90801 (S.D.N.Y. Sept. 30, 2009) ......................4

 Semmler v. Cnty. of Monroe,
    35 F. Supp. 3d 379 (W.D.N.Y. 2014) ........................................................................................3

 Shah v. NY Presbyterian. Hosp.,
    2019 NY Slip Op 32918[U], 2019 WL 4899031 (Sup. Ct. N.Y. Cnty. Oct. 4,
    2019) ..........................................................................................................................................8

 Soloviev v. Goldstein,
    104 F. Supp. 3d 232 (E.D.N.Y. 2015) .......................................................................................5

 Starikov v. Ceva Freight, LLC,
     2015 NY Slip Op 32751[U], 2015 WL 13640431 (Sup. Ct. Nassau Cnty. May
     22, 2015) ....................................................................................................................................8

 Stouter v. Smithtown Cent. Sch. Dist.,
    687 F. Supp. 2d 224 (E.D.N.Y. 2010) .......................................................................................4

 Tate v. Rocketball, Ltd.,
    45 F. Supp. 3d 268 (E.D.N.Y. 2014) .........................................................................................5

 Taylor v. City of N.Y.,
    269 F. Supp. 2d 68 (E.D.N.Y. 2003) .........................................................................................4

 Williams v. N.Y.C. Hous. Auth.,
    61 A.D.3d 62 (1st Dep’t 2009) ..................................................................................................5



                                                                         iii
 NY28876/0001-US-9433588/7
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 5 of 15 PageID #: 1512




 Statutes

 Americans with Disabilities Act ......................................................................................................1

 Fed. R. Civ. P. 12(b)(6)................................................................................................................1, 2

 New York City Human Rights Law....................................................................................... passim

 New York Labor Law ..........................................................................................................1, 2, 6, 9

 NYLL § 215 .......................................................................................................................2, 6, 9, 10

 NYLL § 215(2)(a) ..........................................................................................................................10

 NYLL § 740 ........................................................................................................................... passim

 NYLL § 740(2)(a) ............................................................................................................................7

 NYLL § 740(2)(3)............................................................................................................................6

 NYLL § 740(7) ..............................................................................................................................10

 New York State Human Rights Law ...................................................................................1, 2, 3, 5




                                                                      iv
 NY28876/0001-US-9433588/7
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 6 of 15 PageID #: 1513




        Defendants Willie Grey, Chance Stewart, and Lloyd Hall (hereafter in the singular

 “Defendant ________” or collectively referred to as “Individual Defendants”), by counsel, Laura

 A. Watanabe, Esq., respectfully submit this Reply Memorandum of Law in support of their Motion

 to Dismiss Plaintiffs’ Last Amended Complaint served on April 5, 2021 pursuant to Fed. R. Civ.

 P. 12(b)(6) (hereafter “12(b)(6) Motion” or “Motion”). Where applicable, Individual Defendants

 join in arguments made by Defendant UPS in its reply papers and adopt and incorporate all

 arguments contained therein to the extent not inconsistent with the arguments set forth herein.

                                   PROCEDURAL POSTURE

        Plaintiffs have filed three complaints in this case. Each iteration of a complaint repeats

 what was recited in a preceding complaint. The last complaint was filed on February 19, 2021

 (hereafter the “Last Amended Complaint” or “LAC”). Thereafter, the Individual Defendants

 served the instant 12(b)(6) Motion on April 5, 2021. Following the Motion, Plaintiffs Fari Murray,

 Daniel Moyle, and Roy Welsh withdrew the First (New York Labor Law - Overtime Claim),

 Second (New York Labor Law - Record Keeping Claim), Third (New York Labor Law - Wage

 Statement Claim), Fifth (NYSHRL & NYCHRL Constructive Discharge Claim), Ninth

 (Americans with Disabilities Act Claim), and Tenth (NYSDHR and NYCHRL Disability

 Discrimination Claims) Causes of Action (hereafter “COA”) in their Memorandum of Law in

 Opposition to Individual Defendants William Grey, Chance Stewart, and Lloyd Hall’s Motion to

 Dismiss Plaintiffs’ Second Amended Complaint (“Plaintiffs’ MOL” at 4) and opposed dismissal

 of the remaining COA. The remaining COA against Individual Defendants are: retaliation claims

 brought under the New York State Human Rights Law (“NYSHRL”) and New York City Human

 Rights Law (“NYCHRL”) (6th-7th COA); the aiding and abetting claims brought under the
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 7 of 15 PageID #: 1514




 NYCHRL (12th-14th COA); and New York Labor Law (“NYLL”) claims brought pursuant to

 NYLL §§ 215 and 740 (16th COA).

                     LEGAL STANDARDS FOR MOTION TO DISMISS

        The legal standards for a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules

 of Civil Procedure have been set forth previously in the Individual Defendants’ Memorandum of

 Law dated April 5, 2021.

                                           ARGUMENT

 I.     PLAINTIFFS MOYLE, WELSH, AND MURRAY’S FAILURE TO
        CHALLENGE OR ADDRESS INDIVIDUAL DEFENDANTS’
        ARGUMENTS TO DISMISS NYSHRL AND NYCHRL RETALIATION
        CLAIMS ARE A CONCESSION TO THEIR HAVING NO DEFENSE TO
        DISMISSAL OF THE REMAINING CLAIMS, OR OTHERWISE
        SHOULD BE DEEMED AS HAVING BEEN ABANDONED

        Plaintiffs Moyle, Welsh, and Murray entirely skirt the arguments made in the Motion to

 dismiss their NYCHRL and NYSHRL retaliation claims (Sixth and Seventh COA). Their

 sidestepping of the Motion and its merit is immediately apparent and failing to oppose the Motion’s

 arguments, dismissal of the claims should either be deemed conceded or as having been

 abandoned.

        Plaintiff Moyle does not answer or challenge the governing law that retaliation claims

 based on taking disability leave and reporting of a third-party injury are not protected activities

 under the NYSHRL or NYCHRL. (Plaintiffs’ MOL at 5) Hernandez v. Weill Cornell Med. Coll.,

 2015 NY Slip Op 51022(U), ¶ 1, 48 Misc. 3d 1210(A), 18 N.Y.S.3d 579 (Sup. Ct. Bronx Cnty.

 July 6, 2015) (a protected activity is the act of a person opposing any discriminatory practice that

 is forbidden under NYSHRL and NYCHRL); Brummell v. Webster Cent. School Dist., 06-CV-

 6437, 2009 WL 232789, at *5 (W.D.N.Y. Jan. 29, 2009) (“… general complaints about

 employment concerns do not constitute protected activity under Title VII.”).



                                                  2
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 8 of 15 PageID #: 1515




        Likewise, Plaintiff Welsh does not respond to the Motion’s argument that dismissal of

 retaliation claims is warranted because “taking disability leave, filing a complaint concerning

 homophobia [in the absence of pleading his own sexual orientation], and requesting religious

 observance accommodations” are not protected activities under the NYSHRL or NYCHRL.

 (Plaintiffs’ MOL at 5; LAC ¶ 318) Id.; see also Semmler v. Cnty. of Monroe, 35 F. Supp. 3d 379,

 384-85 (W.D.N.Y. 2014). Nor do they claim that Individual Defendants Stewart or Hall were

 informed of or made aware of a complaint of protected activity. Whether they made “internal

 complaints via the 1800 hotline, complained to upper management, and contacted HR on several

 occasions” or baldly assert that “Defendants were aware of plaintiffs’ protected activity”

 (Plaintiffs’ MOL at 5) is of no consequence because in the absence of specific allegations showing

 Individual Defendants Stewart or Hall’s knowledge of protected activity complaints, general

 conclusory statements fail to meet pleading standards. Reardon v. Keating, 980 F. Supp. 2d 302,

 318 (D. Conn. 2013) (dismissing a retaliation claim where the complaint’s “references to

 retaliation [were] conclusory boilerplate, without foundation or support in the [complaint’s] factual

 allegations from which an intent to retaliate could plausibly be inferred.”). Additionally, without

 proof of awareness, Plaintiffs Moyle and Welsh cannot establish a causal connection between the

 protected activity and the adverse action. Acosta v. City of N.Y., 11 Civ. 8561 (KBF), 2012 WL

 1506954, at **9-10 (S.D.N.Y. Apr. 26, 2012).

        Finally, Plaintiff Murray fails to challenge or address the Motion’s argument that his

 retaliation claim (Seventh COA) is fatally flawed because his complaints against Defendant Grey

 concerning theft of overtime, insurance fraud and accident cover-ups, and overtime are not

 protected activity under the NYCHRL. (Plaintiffs’ MOL at 5-6) Further, even if he had alleged a

 protected activity, he does not present any supporting fact showing that Defendant Grey had




                                                  3
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 9 of 15 PageID #: 1516




 knowledge of a complaint of any protected activity or to demonstrate a causal connection between

 the particular complaint and retaliation. (Plaintiffs’ MOL at 5-6; LAC ¶¶ 327, 329)

        Having failed to answer or oppose the Motion’s arguments to dismiss, the retaliation claims

 pleaded in the Sixth and Seventh COA should be dismissed as having been conceded or abandoned.

 See, e.g., Stouter v. Smithtown Cent. Sch. Dist., 687 F. Supp. 2d 224, 236 (E.D.N.Y. 2010) (Claim

 asserted in complaint but not addressed in response to defendant’s summary judgment motion is

 deemed abandoned.); Robinson v. Am. Int’l Group, Inc., 08 Civ. 1724 (LAK), 2009 U.S. Dist.

 LEXIS 90801, at *12 n.65 (S.D.N.Y. Sept. 30, 2009) (citing cases in which courts deemed Plaintiff

 to have abandoned claims where they failed to address them in opposition to a summary judgment

 motion) (citing cases); Ostroski v. Town of Southold, 443 F. Supp. 2d 325, 340 (E.D.N.Y. 2006)

 (“Because plaintiff’s opposition papers did not address defendants’ motion for summary judgment

 on this claim, the claim is deemed abandoned and summary judgment could be granted on that

 basis alone.”) (citing cases); Taylor v. City of N.Y., 269 F. Supp. 2d 68, 75 (E.D.N.Y. 2003)

 (“Federal courts may deem a claim abandoned when a party moves for summary judgment on one

 ground and the party opposing summary judgment fails to address the argument in any way.”);

 Arias v. NASDAQ/AMEX Mkt. Group, 00 Civ. 9827 (MBM), 2003 WL 354978, at * 13 (S.D.N.Y.

 Feb. 18, 2003)(Where plaintiff’s summary judgment opposition “neither refute[d] nor even

 mention[ed]” defendant’s argument for summary judgment on two of his claims, those claims

 dismissed as “abandoned.”).




                                                 4
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 10 of 15 PageID #: 1517




  II.     FAILING TO ADDRESS THE LEGAL INSUFFICIENCIES IN THEIR NYCHRL
          AIDING AND ABETTING CLAIMS, DISMISSAL OF CLAIMS IS PROPER AS
          HAVING BEEN CONCEDED OR ABANDONED, AND FOR THE REASON
          THAT NO UNDERLYING RETALIATION CLAIM IS ESTABLISHED

          For the same reasons set forth in Section I, Plaintiffs Moyle, Welsh, and Murray’s

  NYCHRL claims should be dismissed because either dismissal is conceded or the claims have

  been abandoned.

          Moreover, Plaintiffs do not challenge or otherwise address how in the absence of a viable

  retaliation claim an aiding and abetting claim can lie. Soloviev v. Goldstein, 104 F. Supp. 3d 232,

  253 (E.D.N.Y. 2015) (under NYSHRL and NYHRL, there is “a requirement that liability must

  first be established as to the employer/principal before accessorial liability can be found as to an

  alleged aider and abettor.”) Indeed, Plaintiffs totally skirt the issue of their pleadings being derelict

  of any fact showing a shared intent or purpose between the principal actor (Defendant UPS) and

  Individual Defendants, without which an NYCHRL aiding and abetting cannot be sustained as

  they must demonstrate a partnership or community of purpose. Tate v. Rocketball, Ltd., 45 F. Supp.

  3d 268, 273-74 (E.D.N.Y. 2014).

          With regard to Plaintiff Welsh’s NYCHRL aiding and abetting claim, he offers no defense

  to or explanation for his claim failing to: 1) plead a predicate claim for religious discrimination to

  support an underlying claim of aiding and abetting; 2) state facts concerning his qualifications for

  the position; 3) state facts showing that he suffered an adverse employment action because of a

  religious conflicting with an employment requirement; or 4) state facts demonstrating that he was

  treated less well than others because of his religion. (Plaintiffs’ MOL at 6) Breitstein v. Michael

  C. Fina Co., 2016 NY Slip Op 31858(0), 2016 WL 5816210, *17-18 (Sup. Ct. N.Y. Cnty. Oct. 5,

  2016); see Williams v. N.Y.C. Hous. Auth., 61 A.D.3d 62, 78 (1st Dep’t 2009) (citing cases

  concerning element of proof that plaintiff was treated less well because of his religion).



                                                     5
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 11 of 15 PageID #: 1518




            Again failing to answer or oppose the Motion’s arguments to dismiss claims, Plaintiffs’

  NYCHRL aiding and abetting claims in the Twelfth, Thirteenth, and Fourteenth COA, the claims

  should be dismissed as conceded or as having been abandoned. See relevant cases cited in Section

  I.

  III.      PLAINTIFFS MOYLE, WELSH, AND MURRAY’S FAILURE TO
            CHALLENGE OR ADDRESS DISMISSAL OF NYLL CLAIMS
            SHOULD BE DEEMED A CONCESSION OR OTHERWISE
            REGARDED AS HAVING BEEN ABANDONED

            As was the case with their retaliation and aiding and abetting claims, lacking any ability to

  contest dismissal of NYLL §§ 215 and 740 claims, Plaintiffs Moyle, Welsh, and Murray woefully

  attempt to but miserably fail in their effort to dodge the legal requirements for the claims to lie.

  Their failure to challenge the Motion’s reasons for dismissal of the claims concede the lack of a

  defense to dismissal of NYLL claims or, in the alternative, should be deemed an abandonment of

  claims.

            A.     NYLL § 740 Claims

            First, with respect to the § 740 claims (Sixteenth COA), Plaintiffs’ claim that they raised

  DOT concerns with Human Resources and others within Defendant UPS’ organization does not

  establish knowledge by any Individual Defendant of a protected activity. (Plaintiffs’ MOL at 7;

  LAC ¶¶ 402, 404-405, 407) To hold an individual defendant accountable, it must be pleaded that

  the “‘activity, policy or practice’ disclosed - or threatened to be disclosed…must first have been

  brought by the whistle-blowing employee ‘to the attention of a supervisor of the employer….’”

  Knighton v. Mun. Credit Union, 2009 NY Slip Op 30204[U], *5, 2009 WL 289668 (Sup. Ct. N.Y.

  Cnty. Jan. 12, 2009) (internal citations omitted) (emphasis added). Where “there is no allegation

  that [they] contacted “‘a supervisor’…as required by Labor Law § 740(2)(3),” the § 740 claim

  must be dismissed. Koehler v. Schervier N.C.C., 2012 NY Slip Op 33448[U], 2012 WL 10007968,



                                                     6
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 12 of 15 PageID #: 1519




  *4 (Sup. Ct. Bronx Cnty. Nov. 29, 2012). Section 740 is strict in its requirement that reports to

  others is insufficient because for the claim to be actionable a plaintiff must have “(a) disclose[d],

  or threaten[ed] to disclose to a supervisor or to a public body an activity, policy or practice of the

  employer that is in violation of law, rule or regulation which violation creates and presents a

  substantial and specific danger to the public health or safety, or which constitutes health care

  fraud.” NYLL § 740(2)(a). In the absence of allegations that they disclosed alleged DOT violations

  to an Individual Defendant, no causal nexus is proven to establish that alleged adverse employment

  actions resulted from a disclosure or threatened disclosure. Palencar v. NY Power Auth., No. 5:15-

  CV-857 (DNH), 2019 U.S. Dist. LEXIS 172410, at **79-80 (N.D.N.Y. Oct. 4, 2019), citing Rivera

  v. AffinEco LLC, No. 16 Civ. 7621 (RJS), 2018 U.S. Dist. LEXIS 68923, at **10-11 (S.D.N.Y.

  Mar. 26, 2018).

         Second, Plaintiffs’ conclusory allegation that their purported DOT safety concerns raised

  a public health or safety issue of the type recognized by NYLL § 740 fails because well-settled

  law requires a plaintiff to prove that he “engaged in an activity, policy, or practice that constituted

  an actual violation of law, rule, or regulation” for a § 740 claim to be established. Khan v. State

  Univ. of N.Y. Health Sci. Ctr. at Brooklyn, 288 A.D.2d 350 (2d Dep’t 2001). A good-faith belief

  that an actual violation occurred, opinion or speculation is insufficient to sustain a § 740 claim.

  Id.; see also Cotrone v. Consolidated Edison Co. of NY, Inc., 50 A.D.3d 354 (1st Dep’t 2008).

  Here, while Plaintiffs’ argument that “defendant’s engaged in DOT violations for both the package

  delivery drivers and the on-road supervisors,” “[made] complaints of dangerous 17-hour shifts

  were systemically quashed by defendants,” “raised concerns with the HR defendant’s unethical

  and dangerous practice of forcing on-road supervisors to violate DOT hours regulations,” and

  “Defendant’s alleged DOT violations constitute both an actual violation of the law and a




                                                    7
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 13 of 15 PageID #: 1520




  substantial threat to public health and safety” (Plaintiffs’ MOL at 7; LAC ¶¶ 402, 404, 406-407),

  they offer nothing more than conjecture and opinion in the absence of any demonstrative fact

  showing a correlation between DOT hours violations and a “Tracy Morgan” tragedy.

         DOT hours violations do not establish “a substantial and specific danger to the public health

  and safety” of the type recognized by courts. See, e.g., Cotrone, 50 A.D.3d at 354-55 (concluding

  that leaving tanker trucks with hazardous materials unattended on a public street did not create a

  substantial and specific danger to the public health or safety for a § 740 claim); Peace v. KRNH,

  Inc., 12 A.D.3d. 914, 914-16 (3d Dep’t 2004) (finding allegations that a respiratory therapist

  documented false respiratory treatment and blood oxygen level checks that had not in fact been

  performed are “simply insufficient to establish the requisite threat to public health and safety” to

  support a § 740 claim); Barber v. Von Roll U.S.A., Inc., No. 1:14-CV-907 (MAD/TWD), 2015 WL

  5023624, at *14 (N.D.N.Y. Aug. 25, 2015), (acts and threats of violence and speculation of a

  danger of a mass shooting insufficient to support a § 740 claim); Hughes v. Gibson Courier Servs.

  Corp., 218 A.D.2d 684 (2d Dep’t 1995) (complaints concerning employment requirement that

  firearms be carried in violation of the penal law did not present an actual and substantial danger to

  the public health); Katz v. Quality Bldg. Servs., 81 A.D.3d 558, 559 (1st Dep’t 2011) (failure to

  check the legal employment status of applicants as required by the U.S. Immigration Reform and

  Control Act of 1986 as amended in 2006 did not create a substantial and specific danger to the

  public health or safety within the meaning of Labor Law § 740); Shah v. NY Presbyterian. Hosp.,

  2019 NY Slip Op 32918[U] *4-6, 2019 WL 4899031, **12-13 (Sup. Ct. N.Y. Cnty. Oct. 4, 2019)

  (claim that hospital failed to abide by safety codes and New York State Department of Health

  regulations dismissed as not a substantial and specific danger to the public); Starikov v. Ceva

  Freight, LLC, 2015 NY Slip Op 32751[U], 2015 WL 13640431 (Sup. Ct. Nassau Cnty. May 22,




                                                   8
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 14 of 15 PageID #: 1521




  2015) (claim that conducting customs business without authority to do so could have allowed

  potentially dangerous products to enter the country improperly and illegally dismissed). Failing to

  meet the pleading requirements of some “actual violation of law, rule, or regulation” or a

  substantial and specific danger to the public health and safety, dismissal of § 740 claims is

  appropriate because Plaintiffs do not point to “a law, rule or regulation” violated by any Individual

  Defendant and instead rely upon speculation. Khan, 734 N.Y.S.2d at 93.

         Finally, Plaintiffs’ failure to oppose dismissal of the § 740 claims for statute of limitations

  reasons should be deemed as an abandonment of claims. Likewise, the lack of opposition to the

  Motion’s argument to dismiss individual liability and for the reason that it is duplicative of other

  claims based on similar facts, the NYLL claims should be deemed as having been abandoned. See

  previously cited cases concerning abandonment of claims in Section I, supra.

         B.      NYLL § 215 Claims

         Since there are no viable underlying § 740 claims, § 215 claims should be dismissed in the

  absence of a NYLL violation being established. Without a viable underlying NYLL claim, a

  retaliation claim lacks a predicate basis for prosecution. Chevalier v. Civ. Serv. Employees Assn.,

  No. 1:10-CV-446 (FJS/DRH), 2011 WL 1298739, at *10 (N.D.N.Y. Mar. 31, 2011) (§ 215 claim

  dismissed where no underlying NYLL claim established).

         Additionally, § 215 claims should be dismissed as neither Plaintiff Moyle nor Plaintiff

  Welsh allege that they complained of a NYLL violation to Individual Defendants Stewart or Hall.

  Likewise, neither of them allege that Individual Defendants Stewart and Hall were aware of any

  NYLL complaint being made to others.

         Indeed, having failed to plead that either any Individual Defendant was informed by a

  Plaintiff of a DOT violation or that any Individual Defendant had knowledge of same (LAC ¶¶

  402, 404, 407), and for the additional reason that Plaintiffs do not oppose or challenge the


                                                   9
Case 2:20-cv-01427-MKB-LB Document 57 Filed 05/19/21 Page 15 of 15 PageID #: 1522




  Individual Defendants’ arguments in their Motion for dismissal of Plaintiffs’ § 215 claims

  (Plaintiffs’ MOL at 7), Plaintiffs Moyle, Welsh, and Murray’s claims should be dismissed, or, at

  least, otherwise be deemed as having been abandoned. See Forrest v. Jewish Guild for the Blind,

  3 N.Y.3d. 295, 327 (2004) (participation in a protected activity must be known to defendant).

         Moreover, having failed to allege when the retaliation occurred, it cannot be determined

  whether Plaintiffs filed their § 215 claims within the permissible two-year limitations period.

  NYLL § 215(2)(a).

         In any case, the § 215 claims should be dismissed “because [they are] a thinly veiled

  recasting of the retaliation claim made pursuant to section 740.” Section 740(7) clearly prohibits

  “claims that duplicate or overlap the statutory remedies for retaliation.” Kramsky v. Chetrit Group,

  LLC, No. 10 CV 2638 (HB), 2010 WL 4628299, at *6 (S.D.N.Y. Nov. 16, 2010).

                                           CONCLUSION

         For the reasons set forth above and in Individual Defendants’ initial Motion papers,

  Defendants Grey, Stewart, and Hall respectfully move to dismiss with prejudice the Remaining

  COA in the Sixth, Seventh, Twelfth, Thirteenth, Fourteenth, and Sixteenth COA, and request that

  the LAC be dismissed in its entirety with prejudice.

  Dated: May 19, 2021


                                                WITHERS BERGMAN LLP


                                           By: ________________________________________
                                               Laura A. Watanabe
                                               430 Park Avenue
                                               New York, New York 10022
                                               Tel: (212) 848-9800
                                               Laura.Watanabe@withersworldwide.com

                                                Attorneys for Defendants Grey, Stewart, and Hall



                                                  10
